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UNITED STATES DISTRICT COURT DATE ricep: QP
SOUTHERN DISTRICT OF NEW YORK
x
MARKY’S MARTIAL ARTS, INC.,
Plaintiff,
1:19-cy-3363 (ALC)
-against-
ORDER TO SHOW CAUSE
FC ONLINE MARKETING, INC.
Defendant.
xX

 

ANDREW L. CARTER, JR., United States District Judge:

On April 15, 2019, Plaintiff Marky’s Martial Arts, Inc. (“Plaintiff”) filed a complaint
against Defendant FC Online Marketing, Inc. (“Defendant”). ECF No. 1. On September 23,
2019, having previously obtained a clerk’s certificate of default, Plaintiff filed a Motion for
Default Judgment against Defendant. ECF No. 11-12. To date, Defendant has not appeared in
this action and has failed to answer or otherwise respond to the Complaint.

Accordingly, Defendant is hereby ORDERED TO SHOW CAUSE why default
judgment for failure to move or otherwise answer the Complaint should not be entered, pursuant
to Rule 55 of the Federal Rules of Civil Procedure. Such showing shall be made in writing and
filed on or before October 7, 2019. Any reply by Plaintiff will be due on or before October
21, 2019.

The parties shall also appear for a hearing in this matter on October 22, 2019, at 1:00
p.m. in Courtroom 1306 at the Thurgood Marshall United States Courthouse, 40 Foley Square,
New York, New York 10007.

Plaintiff is directed to serve a copy of this Order to Show Cause and the papers upon

which it is based on Defendant on or before September 26, 2019. Service must be made by

 
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certified mail and Plaintiff is directed to submit the tracking number to the Court. Plaintiffs shall
file proof of service with the Court within fourteen (14) days of entry of this Order.

Lastly, the Clerk of Court is respectfully directed to terminate docket number 8.

 

SO ORDERED. .
Dated: September 23, 2019 Wb / (Le Q
a Lo”.
New York, New York ANDREW L. CARTER, JR.

United States District Judge

 
